


  Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of respondent finding petitioner guilty of violating certain prison disciplinary rules.
 

  Petitioner commenced this CPLR article 78 proceeding challenging a tier III determination finding him guilty of violating certain prison disciplinary rules. The Attorney General has advised this Court that the determination at issue has been administratively reversed, all references thereto have been expunged from petitioner’s institutional record and the mandatory $5 surcharge has been refunded to petitioner’s inmate account. We note that the loss of good time that was imposed as part of the penalty should also be restored to petitioner (see Matter of Gega v Annucci, 149 AD3d 1439, 1439 [2017]). Otherwise, as petitioner has been granted all of the relief to which he is entitled, the petition must be dismissed as moot (see Matter of Elder v New York State Dept. of Corr. &amp; Community Supervision, 149 AD3d 1390, 1390 [2017]).
 

  Peters, P.J., Egan Jr., Lynch, Devine and Aarons, JJ., concur.
 

  Adjudged that the petition is dismissed, as moot, without costs.
 
